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16

17                              UNITED STATES DISTRICT COURT

18           NORTHERN DISTRICT OF CALIFORNIA – SAN FRANCISCO DIVISION

19

20   EDAG Engineering GmbH,                                Case No. 3:21-cv-04736-EMC

21           Petitioner,                                   PETITIONER EDAG’S REPLY IN
                                                           SUPPORT OF MOTION TO CONFIRM
22           v.                                            THE ARBITRATOR’S NOVEMBER 8,
23   BYTON North America Corporation,                      2021 ORDER

24                                                         Date:        June 30, 2022
             Respondent.
                                                           Time:        1:30 p.m.
25                                                         Location:    via Judge Chen’s
                                                                        Videoconference – Link
26                                                         Judge:       Hon. Edward M. Chen
27

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 1                                          I. INTRODUCTION.

 2          Where we are is not in dispute: Petitioner EDAG Engineering GmbH (“EDAG”) has a

 3   judgment in its favor, which it is trying to enforce against Respondent BYTON North America

 4   Corporation (“BNA”). See Docket No. 49 (Order Granting Mot. To Confirm Arb. Award). EDAG

 5   also has a ruling from the Arbitrator, the Honorable William Cahill (Ret.), confirming that EDAG

 6   owns certain intellectual property, namely the technology EDAG developed for use in electric cars

 7   and for which BNA has not paid. See Docket No. 25 (Not. of Entry of Injunction, filed 11/8/21).

 8          The only question now is what to do with the Arbitrator’s second order (referred to herein as

 9   the “11/8/21 Order”) now that the judgment is final and enforceable. Simultaneously, it is important

10   to remember the context that BNA deliberately omits: the 11/8/21 Order was issued because BNA

11   failed to pay EDAG the $28.6 million ordered by the Arbitrator, pled poverty for years, and then

12   was caught secretly trying to move its only known asset of value (the IP EDAG helped create)

13   overseas to China at the same time. 1 To this day, BNA has not denied any of these facts.

14          The Arbitrator’s findings in the 11/8/21 Order still have value to EDAG—specifically, his

15   ruling that EDAG owns the technology means that EDAG can preclude BNA from accessing,

16   transferring, or deleting that technology, or from using it in BNA’s electric vehicles. And while the

17   intellectual property remains EDAG’s, it will not count among BNA’s assets for purposes of

18   satisfying the judgment. 2 (Indeed the 11/8/21 Order specifies that BNA may not access the

19
     1
20     As EDAG’s recent filings have shown, BNA also apparently received a $10,000,000 PPP loan
     during this period, as well as hundreds of millions of dollars from other sources which were
21   funneled to the Cayman Islands and China.
22   2
       Even if the Court vacates the 11/8/21 Order, the technology held by JAMA would remain in the
     hands of the U.S. Marshal, as an asset in which EDAG has a lien interest, for purposes of satisfying
23
     the judgment. See Del Riccio v. Superior Court, 115 Cal. App. 2d 29, 31–32 (1952) (court cannot
24   “undo what ha[s] already been done so as to deprive the creditor of ownership and use of money
     collected”). EDAG moved to confirm the 11/8/21 Order because the Arbitrator correctly ruled the
25   technology still belongs to EDAG because BNA never paid for it. That ruling means that BNA must
     pay the entire $30.1 million, plus interest, before receiving the IP. That is a very different outcome
26   than the one BNA seeks, in which the value of the technology may be deemed an asset of BNA’s
27   and counted toward the $30.1 million sum. For example, if the Court vacates the 11/8/21 Order,
     BNA can use the IP to build the EDAG-designed EVs overseas and not pay EDAG a penny more;
28   whereas, if the Court confirms that the IP belongs to EDAG, BNA cannot access that IP.
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 1   technology unless and until it satisfies the judgment in full.)

 2           EDAG has submitted considerable evidence detailing the need to retain the Arbitrator’s

 3   ruling after entry of judgment—including testimony from neutral third parties regarding BNA’s

 4   attempts to access EDAG’s data (likely to transfer it to China, as BNA did with more than a dozen

 5   patents), and testimony from an EDAG engineering expert that BNA prototypes relying on EDAG’s

 6   technology have been spotted driving the streets of China. See Docket No. 22 and supporting

 7   Exhibits.

 8           BNA does not refute this evidence now, nor did it refute this evidence when presented to the

 9   Arbitrator in September and October 2021. Neither its Motion to Vacate or Modify (Docket No.

10   117) nor its Opposition/Reply (Docket No. 140) deny that BNA’s Chinese parent company

11   incorporated EDAG’s technology into prototypes prior to the 11/8/21 Order. BNA admits that it

12   transferred more than a dozen patents overseas, and does not deny that it intended to do the same for

13   EDAG’s data before the Arbitrator enjoined it from doing so. (BNA does mention this Court’s

14   order to turn the data over to the United States Marshal (Docket No. 98), but omits the fact that said

15   order relies on the presumption that the property is “BNA IP,” id. at 6, rather than EDAG’s.) And

16   nowhere does BNA state that it has no present or future intention to use EDAG’s technology, or—

17   significantly—that it intends to actually pay EDAG the over $30.1 million it owes for the rightful

18   use of that technology.

19           BNA does not even attempt to argue that the Arbitrator’s interpretation of the parties’

20   contract is wrong. 3 Instead BNA presents a suite of erroneous—and borderline contradictory—

21   procedural arguments, asking the Court to vacate the 11/8/21 Order because it decides too much,

22   because it decides too little, or because it is moot.

23           As discussed in more detail below, those arguments are wrong as a matter of law. But they

24   are also red herrings. There is no doubt that the Court can act to protect EDAG’s property interest in

25
     3
      It is undisputed that the contract between EDAG and BNA, as discussed in EDAG’s Motion to
26   Confirm the Nov. 8, 2021 Order and elsewhere, affords the Arbitrator “full power and authority to
27   determine issues of arbitrability and to interpret or construe the provisions of the agreement
     documents and to fashion appropriate remedies (including temporary, preliminary, interim, or
28   permanent injunctive relief [.]” Docket No. 27-2 at §14.4 (b).
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 1   the technology in question, based on the same contract the Arbitrator interpreted and the same

 2   evidence the Arbitrator considered. There are at least three ways for this Court to do that: (1)

 3   confirm the 11/8/21 Order; (2) issue its own permanent injunction; or (3) take no action, leaving the

 4   11/8/21 Order as an enforceable contract between the parties, such that EDAG can continue to

 5   enforce its ownership rights.

 6             Because there is no dispute that EDAG owns its technology, and nothing to refute EDAG’s

 7   showing that an order is necessary to protect EDAG’s rights, EDAG respectfully requests that the

 8   Court exercise one of those three options.

 9                                            II.     ARGUMENT.

10   A.        THE COURT CAN AND SHOULD PROTECT EDAG’S ENFORCEABLE
               PROPERTY INTEREST.
11
               1.     The Arbitrator Properly Determined That EDAG Owns the Technology It
12                    Helped Create.
13

14             The bulk of BNA’s argument is that the Arbitrator exceeded his authority when he

15   interpreted the parties’ contract (the “TDLA”) and determined that EDAG owns the technology it

16   helped develop and for which BNA has not paid. See Reply ISO Motion to Vacate, filed 3/15/22

17   (Docket No. 140) (“BNA Opp.”) 2:6-5:15. BNA does not dispute, though, the correctness nor the

18   accuracy of the 11/8/21 Order, nor the evidence presented to support that Order. Instead, BNA says

19   the Arbitrator exceeded his authority because of the functus officio doctrine, and because the

20   Arbitrator allegedly disregarded JAMS rules in rendering his decision. Both of those contentions

21   are wrong.

22                    a.      Functus Officio Still Does Not Apply.

23             As discussed in EDAG’s Opposition brief, it is law of the case that federal law applies. See

24   Docket No. 129 (“EDAG Opp.”) 8:9-9:4. BNA does not dispute, and therefore concedes, this point.

25   See Tapia v. Wells Fargo Bank, N.A., No. CV 15-03922 DDP (AJWX), 2015 WL 4650066, at *2

26   (C.D. Cal. Aug. 4, 2015) (arguments to which no response is supplied are deemed conceded); Silva

27   v. U.S. Bancorp, No. 5:10-cv-01854-JHN-PJWx, 2011 WL 7096576, at *3 (C.D. Cal. Oct. 6, 2011)

28   (same).
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 1          BNA fails to engage with the cases EDAG cited, in which federal courts have: (a) generally

 2   disfavored application of functus officio (EDAG Opp. 12:15-21); (b) specifically approved

 3   arbitrators retaining jurisdiction to issue injunctions like the 11/8/21 Order (id. 12:3-14); and (c)

 4   specifically held that the doctrine does not bar arbitrators from making new decisions, clarifying

 5   ambiguities, or “address[ing] a contingency that has arisen after the award was made[.]” Id. 12:22-

 6   13:21, quoting Int’l Bhd. of Teamsters, Chauffeurs, Warehousemen & Helpers of Am., AFL-CIO,

 7   Loc. 631 v. Silver State Disposal Serv., Inc., 109 F.3d 1409, 1411 (9th Cir. 1997) (“Teamsters &

 8   Chauffeurs”).

 9          BNA does cite Teamsters & Chauffeurs (and no other federal case), but does so

10   misleadingly. BNA states that under Teamsters & Chauffeurs, “the issuance of a final arbitration

11   award discharges the arbitrator’s duties and terminates the arbitrator’s authority to further act with

12   respect to the subject matter of the arbitration[,]” BNA Opp. 3:2-3, but that is not true. The very

13   page that BNA cites discusses the “completion exception” and the “ambiguity exception” to functus

14   officio, which allow an arbitrator to issue a new decision where his previous award fails to resolve

15   an issue or to address a contingency that has arisen after the award. 109 F.3d at 1411.

16          That is exactly what happened here: the Arbitrator issued the 11/8/21 Order to resolve an

17   issue (ownership of EDAG’s technology while EDAG remains unpaid for its work) left unresolved

18   by his previous award, and to address a new contingency (BNA’s efforts to access and use that

19   technology) that arose after that award. BNA agrees. BNA Opp. 2:8-19.

20                   b.     The Arbitrator Followed JAMS Rules.

21          Next, BNA advances an entirely new argument, that the Arbitrator exceeded his jurisdiction

22   by disregarding JAMS Rules 9 and 10. BNA Opp. 3:16-5:15. This argument fails for at least four

23   reasons.

24          First, the Court cannot vacate or modify the 11/8/21 Order based on an entirely new

25   argument. See United States v. Romm, 455 F.3d 990, 997 (9th Cir. 2006) (arguments raised by a

26   party for the first time in its reply brief are deemed waived). BNA did not mention JAMS Rules in

27   its Motion to Vacate or Modify.

28          Second, BNA makes no effort to argue that the JAMS Rules are jurisdictional. Without that
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 1   argument, and law and evidence to support it, the Court cannot equate a failure to follow JAMS

 2   protocol with exceeding the Arbitrator’s jurisdiction. To the contrary, the Court must confirm the

 3   11/8/21 Order unless the purported rules violations render that Order “completely irrational or … a

 4   manifest disregard for law.” SMC Promotions, quoting G.C. and K.B. Invs., Inc. v. Wilson, 326 F.3d

 5   1096, 1105 (9th Cir. 2003). The Order is neither, as BNA concedes (by failing to argue to the

 6   contrary).

 7          Third, BNA waived this procedural argument because it did not cite JAMS Rules 9 or 10 to

 8   the Arbitrator. See United Steelworkers of Am. v. Smoke–Craft, Inc., 652 F.2d 1356, 1360 (9th

 9   Cir.1981) (a party cannot raise in a confirmation proceeding procedural objections to an arbitration

10   that it had failed to raise before the arbitrator; objecting party has “an affirmative obligation to

11   present to the arbitrator any arguments why the arbitration should not proceed”). “Parties to

12   arbitration proceedings cannot sit idle while an arbitration decision is rendered and then, if the

13   decision is adverse, seek to attack the award collaterally on grounds not raised before the arbitrator.”

14   Id. See also Able Bldg. Maint. Co. v. Bd. of Trustees of Gen. Emps. Tr. Fund, 175 F. App’x 118,

15   119–20 (9th Cir. 2006) (citing federal rule and Smoke-Craft in arbitration case decided under

16   California law; same principle applies under the latter).

17          Fourth, the Arbitrator did not violate either JAMS Rule. JAMS Rule 9 required EDAG to

18   give BNA “reasonable and timely notice of its claims,” including a short statement of facts. EDAG

19   did more than that, first copying BNA on the September 17, 2021 letter to the Arbitrator describing

20   the new facts that had arisen and its need for injunctive relief, and then in a more formal brief

21   prepared in accordance with procedures agreed upon by both parties and the Arbitrator. See

22   Declaration of Kenneth M. Walczak filed herewith (“Walczak Decl.”), Exs. A to F. BNA not only

23   stipulated to the briefing schedule before the Arbitrator, but also submitted its own opposition to

24   EDAG’s motion with a supporting declaration and argued before Judge Cahill for several hours

25   regarding EDAG’s request. During the two months between EDAG’s initial letter and the 11/8/21

26   Order, BNA never argued that any of this procedure constituted “unreasonable” or “untimely” notice

27   of the facts or EDAG’s arguments. The facts presented in September and October 2021 have not

28   changed and BNA has submitted no evidence to the contrary. BNA had its day in court—many
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 1   times over.

 2           Rule 10 explicitly states that “new or different claim[s]” may be submitted to the Arbitrator

 3   “with the Arbitrator’s approval.” That is precisely why EDAG submitted its initial letter giving

 4   notice of the new facts and the need for the Arbitrator to resolve a new issue. The Arbitrator

 5   explicitly gave his approval, set a briefing schedule that BNA agreed to, and addressed the issue

 6   after full briefing and a hearing that lasted several hours.

 7           2.      Even If the Arbitrator’s Order Were Procedurally Deficient, the Court Could
                     and Should Make the Same Determination.
 8

 9           BNA argues that the Court should not grant injunctive relief on its own initiative, BNA Opp.

10   7:2-8, but cites no case holding that the Court lacks such authority, or anything refuting EDAG’s

11   argument that the Arbitrator’s preliminary injunction may be converted into a permanent injunction

12   to protect EDAG’s property rights.

13           In fact, there can be no doubt that the Court has the authority to enter an injunction on the

14   facts before it. If the Arbitrator somehow lacked such authority (but see the previous subsection), it

15   must rest with the Court. See, e.g., Apple Inc. v. Psystar Corp., 673 F.Supp.2d 943, 948 (N.D. Cal.

16   2009), aff’d, 658 F.3d 1150 (9th Cir. 2011) (decision whether to grant injunctive relief “rests within

17   the equitable discretion of the district courts”).

18           3.      Absent Any Action by the Court, the Arbitrator’s Order Is an Enforceable
                     Contract.
19

20           If the Court were to decline both parties’ motions, leaving the 11/8/21 Order in effect but

21   unconfirmed, collection efforts would continue under California law. See, e.g., Docket No. 22; see

22   also Fed. R. Civ. P. 69(a) (“The procedure on execution… must accord with the procedure of the

23   state where the court is located, but a federal statute governs to the extent it applies.”); Cal. Code

24   Civ. Proc. §§ 680.010, 683.010 (“Except as otherwise provided by statute or in the judgment, a

25   judgment is enforceable under this title upon entry.”).

26           California law specifies that “[a]n award that has not been confirmed or vacated has the same

27   force and effect as a contract in writing between the parties to the arbitration.” Cal. Civ. Proc. Code

28   § 1287.6. See also, e.g., Jones v. Kvistad, 19 Cal. App. 3d 836, 840–41 (1971) (same); Moradian v.
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 1   Rideshare Port Mgmt., LLC, No. B301784, 2021 WL 5707906, at *8 (Cal. Ct. App. Dec. 2, 2021)

 2   (same).

 3              Therefore, if BNA truly believes that the 11/8/21 Order is moot, and this Court comes to a

 4   similar conclusion, EDAG requests that the 11/8/21 Order be neither confirmed nor denied. While

 5   not the most direct or forceful way to protect EDAG’s property rights, by taking no action at all, the

 6   Court would leave EDAG with a contractual right to enforce its ownership of the technology it

 7   developed and would provide it with at least some ability to continue to pursue the over $30.1

 8   million award it has against BNA. Further, BNA has argued that the 11/8/21 Order no longer has

 9   practical significance (see, e.g., BNA 6:17-7:8); therefore, it cannot reasonably object to the Court

10   leaving that order in place—without vacating or confirming.

11   B.         BNA’S OTHER ARGUMENTS FAIL.

12              1.     Res Judicata Does Not Apply.

13              BNA briefly argues that res judicata bars EDAG from “relitigating” entitlement to its

14   intellectual property after entry of judgment. BNA Opp. 5:16-6:16. That is wrong for two reasons.

15              First, EDAG did not initiate motion practice pertaining to the 11/8/21 Order. BNA moved

16   first to vacate or modify. If res judicata bars any new adjudication post-judgment, then BNA is the

17   party so precluded, and the 11/8/21 Order should stand as an enforceable contract between the

18   parties.

19              Second, the Court—not BNA—has the right to determine which issues “were or could have

20   been raised” in the proceedings leading up to entry of judgment. The Court explicitly decided, on

21   the same day and during the same hearing, to enter judgment for EDAG and leave for another,

22   separate confirmation proceeding the issue of ownership of EDAG’s intellectual property. See

23   Walczak Decl. Ex. G (Dec. 9, 2021 Hearing Transcript) at 3:21-25 (Hon. Edward Chen: “[S]eems

24   like we’re conflating, or the parties are wanting to conflate these two orders. One is a final

25   arbitration order that was issued, and then there was a follow-up injunction. And it seems to me that

26   those are two separate matters.”) & 24:24-25:5 (Hon. Edward Chen: “Back to the preliminary

27   injunction, I’m going to treat that as a separate order, subject to the confirmation process. But that

28   does not preclude whatever rights that the judgment creditor—to have. And it may be that, you
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 1   know, there are rights that are going to moot out that—largely moot out that injunction order, that

 2   preliminary injunction order.”))

 3                  2.      The Court’s Judgment Does Not Adjudicate the Merits of This Issue.

 4           BNA’s final “mootness” argument, BNA 6:17-7:8, is essentially the same as its res judicata

 5   argument, and it runs aground on the same rocky shore.

 6           BNA cites only one case—a bankruptcy case from the District of New Mexico—for the

 7   principle that a preliminary injunction is moot after a “final adjudication on the merits.” Id. 6:22-24,

 8   citing Xtra Petroleum Transp., Inc. v. Brad Hall & Assocs. (In Bankr. D.N.M. 2012) 473 B.R. 430,

 9   435. But that only begs the same question.

10           The Court had the opportunity to “adjudicate the merits” of EDAG’s claim that it owns the

11   technology it developed pursuant to the TDLA. EDAG explicitly requested that the Court resolve

12   the issue. See, e.g., Docket No. 31. Again, the Court declined to do so, specifying that the 11/8/21

13   Order requires an independent confirmation process. That decision amounts to a ruling that the

14   Court’s judgment did not moot the preliminary injunction, or otherwise resolve the merits of

15   EDAG’s argument that it owns the intellectual property in question.

16                                          III.   CONCLUSION.

17           There are at least three paths, but the destination is certain. A decision confirming EDAG’s

18   ownership of its technology has value to EDAG, and all of the evidence supports the continuing

19   need for an order memorializing that decision.

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 1          Therefore, EDAG respectfully requests that the Court either confirm the 11/8/21 Order, enter

 2   its own injunction containing the same provisions, or take no action, allowing the 11/8/21 Order to

 3   stand as an enforceable contract between the parties.

 4                                                           Respectfully submitted,

 5                                                           LEWIS & LLEWELLYN LLP

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 7                                                    By:      s/ Kenneth M. Walczak
 8                                                           Evangeline A.Z. Burbidge
                                                             Marc R. Lewis
 9                                                           Kenneth M. Walczak
                                                             Attorneys for Petitioner EDAG
10                                                           ENGINEERING GMBH
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